January 28, 1942. The opinion of the Court was delivered by
The appellants in this case, Erskine College and Hunter A. Gibbes, are petitioners in the receivership cause affecting the Central Union Bank of South Carolina. At the time the bank closed they were depositors, and they also were debtors to the bank on certain notes.
The material facts affecting the claims of these appellants are the same as those involved in the case of Ex parteMechanics Federal Savings and Loan Association (In reZimmerman v. Central Union Bank), 18 S.E.2d 592, decided this day, and the rulings made in that case are decisive of the issues in the present appeal.
Consequently, to the extent of the amounts of the deposits of these two claimants, less any dividends that may have been collected by them, they are entitled to recover *Page 100 
from the conservator of the bank the full amounts of principal and interest paid by them to the Reconstruction Finance Corporation.
The decision of the Circuit Court is reversed, and the cause is remanded for the entry of judgment in favor of appellants in accordance with this opinion.
MESSRS. ASSOCIATE JUSTICES FISHBURNE and STUKES and MR. ACTING ASSOCIATE JUSTICE G. DEWEY OXNER concur.